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KHALIL ABDUL-MALIK, UNITED STATES DISTRICT COURT
DISTRICT COURT OF NEW JERSEY
NEWARK
Plaintiff
vs. Civil Action No.: ( - )

THE TRUSTEES OF THE NEWARK
ACADEMY, a New Jersey Not-for-Profit

 

Corporation; and JOHN DOES 1-5 (fictitious COMPLAINT
individuals),
Defendants.
JURISDICTION

1. This action is brought pursuant to the Americans With Disabilities Act.

Jurisdiction is conferred under 28 U.S.C. Section 1331 and Section 1343(3). This Court has

supplemental jurisdiction over Plaintiff’s pendent state law claims pursuant to 28 U.S.C. Section
1367.

PARTIES

2. Plaintiff Khalil Abdul-Malik, residing at 3003 Van Ness Street, Apt. W127,
Washington DC NW, 22008, and was, at all times herein relevant, a resident of the State

of New Jersey.
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3. Defendants The Trustee of the Newark Academy, a New Jersey Not-for-Profit
Corporation and/or John Does 1-5 were at all times mentioned herein agents of the Defendants.

4. All Defendants are named in their individual and official capacities.

FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

L. In or about August 2016, the Plaintiff was hired as a teacher by the Defendants.

2. In or about July 2017, the Plaintiff was injured and sustained interallia hernia
limiting his physical activity, physical motion and ability to work.

3. On or about January 13, 2017, his spouse suffered severe emotional harm leaving
the Plaintiff with psychological damage and consequential limitations.

4. From January 4, 2018 to March 2018, the Plaintiff sought from the Defendant

reasonable accommodations to permit him to survive and prosper as a teacher.

UNT ONE
VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

1. The previous paragraphs are incorporated herein inclusively as if fully set forth.

2. Defendants violated Plaintiffs rights pursuant to the Americans with Disabilities
Act by failing to provide reasonable accommodations for his injuries, medical treatment and
surgical recovery.

4, Asa direct and proximate cause of conduct of Defendants set forth above, Plaintiff
sustained injuries including but not limited to multiple hernias, emotional distress, and will incur
additional special damages in the future in an amount which cannot yet be determined.

WHEREFORE, Plaintiff demands judgment against Defendants

-10 on this Count together with compensatory and punitive damages, attorney’s fees, interest and
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costs of suit incurred, and for any such further relief as the court deems proper and just.

DEMAN RT BY JURY
Plaintiff hereby demands a trial by jury as to all issues.
ESIGNATION OF TRIAL E

Please be advised that James J. McGuire, Jr., Esquire is hereby designated trial counsel in
the above captioned matter. :

an WG
Dated: October 22, 2019 Cot . Fy a

SaMES J. McGUIRE, JR., ESQUIRE

 
